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11
                        UNITED STATES DISTRICT COURT
12                   CENTRAL DISTRICT OF CALIFORNIA
13                               EASTERN DIVISION
14    DANIELLE GAMINO, individually
15    and on behalf of all others similarly   Case No.: 5:20-cv-01126-SB (SHK)
      situated,
16                                            MEMORANDUM OF POINTS AND
17          Plaintiff,                        AUTHORITIES IN SUPPORT OF
                                              PLAINTIFF’S MOTION FOR
18    v.                                      LEAVE TO FILE FIRST
19                                            AMENDED COMPLAINT
      KPC HEALTHCARE HOLDINGS,
20    INC., et al.                            Hearing:
21                                            Date:        August 6, 2021
            Defendants                        Time:        8:30 a.m.
22                                            Location:    Courtroom of the Hon.
23                                                         Stanley Blumenfeld, Jr.
24
25
26
27
28
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 1       I.   INTRODUCTION
 2         Plaintiff seeks leave to file a First Amended Complaint (“FAC”) based on
 3 documents produced by Defendants in discovery in April 2021, which revealed
 4 that the original complaint omitted a party to the transaction that gave rise to this
 5 lawsuit as well as claims that various parties to that transaction knowingly
 6 participated in each other’s ERISA violations. Discovery is still at an early stage,
 7 there have been no previous amendments, the proposed changes to the Complaint
 8 do not significantly change the nature of this action or require Defendants to
 9 pursue substantively different discovery, and Plaintiff has acted diligently and in
10 good faith in seeking to amend. Under Federal Rule of Civil Procedure 15(a), leave
11 to amend should be freely granted unless there is a compelling reason not to. As
12 there is no such compelling reason here, Plaintiff’s motion for leave to amend
13 should be granted.
14      II.   BACKGROUND
15         This case was filed on June 1, 2020, alleging ERISA breach of fiduciary
16 duty and prohibited transactions claims against a group of entities and individuals
17 involved in a 2015 transaction through which Defendant Kali Pradip Chaudhuri
18 sold 100% of the stock of KPC Healthcare Holdings, Inc. to the KPC ESOP. ECF
19 No. 1. Defendants filed motions to dismiss on September 3, 2020. ECF Nos. 43,
20 46. While those motions were pending, in October 2020, Plaintiff issued a first set
21 of interrogatories and requests for production of documents. Declaration of Nina
22 Wasow in Support of Plaintiff’s Motion for Leave to File First Amended
23 Complaint (“Wasow Decl.”) ¶ 2. Plaintiff issued a second and third set of requests
24 for production of documents in November 2020. Id. ¶ 3. Except for a handful of
25 documents (consisting of Gamino’s account statements and Defendants’ insurance
26 policies), Defendants refused to produce any other responsive documents based on
27 their objection that no documents should be produced prior to a ruling on the
28 motions to dismiss and then only “to the extent that they relate to class certification
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 1 issues.” ECF No. 72 at 2, 10.1 Magistrate Judge Kewalramani resolved the dispute
 2 over the appropriate scope of discovery prior to class certification on March 16,
 3 2021, ordering “non-bifurcated discovery is to commence immediately.” ECF No.
 4 103. Defendants produced more than 43,000 pages of documents in April. Wasow
 5 Decl. ¶¶ 4-5.2 Upon reviewing these documents, Plaintiff’s counsel learned
 6 substantial new information about the terms of and parties to the 2015 ESOP
 7 transaction. The documents provided in discovery serve as the basis for the
 8 changes to the First Complaint.
 9         The proposed changes to the Complaint can be summarized as follows: (1)
10 Adding SPCP Group, LLC (“SPCP Group”) as a Defendant, based on evidence
11 that SPCP Group was a party to the 2015 ESOP Transaction; (2) Adding SPCP
12 Group and Defendant William Thomas to Counts I and II (prohibited transactions
13 claims) based on their knowing participation in Dr. Chaudhury’s violations of
14 ERISA § 406(a) and § 406(b); (3) Adding SPCP Group, Defendant Thomas, and
15 Defendant Kali Pradip Chaudhuri to Count III based on their knowing participation
16 in Alerus’s breaches of fiduciary duty; (3) Adding Count VIII, a co-fiduciary
17 liability claim under ERISA § 405 against the Committee Defendants, Director
18 Defendants, Kali Pradip Chaudhury, Alerus, and Thomas based on their knowing
19 participation in each other’s ERISA violations; (5) Correcting factual allegations
20 about the identities of the KPC Directors at the time of the ESOP transaction; and
21 (6) Adding factual allegations regarding a previously-unknown step of the ESOP
22 Transaction. Ex. A (proposed FAC).
23         In accordance with this Court’s standing order, the following chart shows
24 each proposed change to the complaint.
25
   1
     KPC Defendants and Defendant Alerus Financial, N.A. produced a small number
26 of documents in January and February 2021. Wasow Decl. ¶¶ 4-5. Document
   production is not complete. Id. ¶ 6.
27 2Non-parties Stout Risius Ross Advisers, LLC and Eureka Capital Partners, LLC,
   on whom Plaintiff served subpoenas, also produced documents in April. Wasow
28 Decl. ¶ 7.
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 1    Page/Line     Wording of Proposed Change or Addition of Material
      of Original
 2    Complaint
 3    1:13          Add: First Amended
      1:21          Add: SPCP Group, LLC
 4    1:22          Italicize
 5    1:27          Italicize
      Footer        Add: First Amended
 6    2:5           Add: ,
 7    2:9           Delete: ,and in fact all but one,
      2:17          Add: ESOP
 8
      2:23          Add: even before taking into account any other consideration that
 9                  Dr. Chaudhuri received as part of the 2015 ESOP Transaction.
10    2:27          Delete: at
      3: 12-13      Replace: “Eastern Division of the Central District of California”
11                  with “State of Georgia”
12    3:14          Change: Defendants
      3:16          Change: Defendant
13    3:16-17       Replace: “The one defendant who is located outside the Central
14                  District of California is” with “Defendants Alerus Financial, N.A.
                    and SPCP Group, LLC are”
15    3:23          Delete: Healthcare
16    3:24          Delete: Healthcare
      3:25          Add: first at Costal Communities Hospital (now known as South
17                  Coast Global medical Center) and then
18    3:26          Add: both
      4:2           Replace: “Corona, California” with “Buford, Georgia”
19
      4:4           Delete: Healthcare
20    4:8           Delete: Healthcare
21    4:10          Replace: “KPC Healthcare’s” with “KPC’s”
      4:12          Delete: Healthcare
22    4:14          Replace: “KPC Healthcare’s” with “KPC’s”
23    5:13          Add: ESOP
      5:16          Add: ESOP
24    5:24          Delete: Healthcare
25    5:25          Delete: Healthcare
      5:28          Add: ESOP
26    6:1           Add: ESOP
27    6:3           Add: ESOP
      6:3           Replace: “owner” with “sole shareholder”
28
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                                   3
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 1    6:3          Change: “KPC Health who” to “KPC.”
      6:4          Add: He
 2    6:4          Add: ESOP
 3    6:7          Delete: Healthcare
      6:8          Delete: Healthcare
 4    6:8          Add: Defendant Kali Priyo Chaudhuri was a member of the
 5                 Board at the time of the 2015 ESOP Transaction
      6:1          Add: ESOP
 6
      6:14         Delete: Healthcare
 7    6:14         Add: Defendant Amelia Hippert was appointed to the Board after
                   the 2015 ESOP Transaction
 8
      6:15         Delete: Healthcare
 9    6:18         Delete: the 2015 Transaction.
10    6:18         Add: her appointment to the KPC Board of Directors
      6:21         Delete: Healthcare
11    6:22         Delete: Healthcare
12    6:23         Delete: Healthcare
      6:23         Add: Defendant William E. Thomas was a member of the Board
13                 at the time of the 2015 ESOP Transaction
14    6:23         Change: Defendant
      7:1          Change: ESOP Transaction
15    7:1
16
17
18
      7:4          Add: Defendant Lori Van Arsdale was appointed to the Board
19
                   after the 2015 ESOP Transaction.
20    7:4          Change: Board of Directors
      7:7          Replace: “the 2015 Transaction” with “her appointment to the
21
                   KPC Board of Directors”
22    7:12         Add: Silver Point Capital Partners
23                 Defendant SPCP Group, LLC (“SPCP Group”) is a Delaware
                   limited liability company and an investment management firm
24                 affiliated with Silver Point Capital Partners, a hedge fund.
25
26
27
28    8:14       Replace: “2017” to “2018”
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 1    8:16         Replace: “2,550” to “655”
      8:16         Replace: “2166” to “2,132”
 2    8:16         Replace: “147” to “228”
 3    8:17         Replace: “237” to “283”
      8:19         Replace: “2018” to “2019”
 4    8:22         Change: Defendants’
 5    8:25         Delete: and Kali Pradip Chaudhuri
      8:25         Add: caused the ESOP to engage
 6
      8:26         Delete: a
 7    8:26         Change: transactions
 8    8:27         Delete: Healthcare
      8:28         Add: ESOP
 9    9:1-2        Add: Whether Defendants Dr. Chauhuri, William Thomas or
10                 SPCP Group knowingly participated in those prohibited
                   transactions;
11    9:2          Delete: Healthcare
12    9:2          Add: ESOP
      9:5          Delete: Healthcare
13    9:9          Delete: Healthcare
14    9:26         Delete: Healthcare
      11:18        Delete: Healthcare
15    11:18        Add: ESOP
16    12:12        Delete: Healthcare
      12:20        Add: Dr.
17
      13:2         Replace: “Kali Pradip” with “Dr.”
18    13:7         Add: Dr.
19    13:9         Change: MedPartners
      13:26        Add: hand
20    14:26        Delete: slashing
21    14:26        Add: were slashed
      15:26        Add: equity
22    16:9         Add: equity
23    16:17        Add: equity
      16:22        Add: Dr.
24    16:23        Add: and Defendants Dr. Chaudhuri, Thomas and SPCP Group
25                 Acquire Integrated Health Warrants
      17:1-9       Add:
26
                   52. Based on documents publicly filed with the Securities and
27                 Exchange Commission , in April of 2010 Dr. Chaudhuri acquired
                   two sets of common stock warrants collectively entitling the
28
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 1                  holder to acquire approximately 309,000 shares of Integrated
                    Health common stock.
 2
 3                  53.

 4
 5
 6
 7    17:24         Change: under which
      18:13-16      Add: 63.
 8
 9
10
11    18:13         Add: Dr.
      18:14         Delete: Healthcare
12
      18:22         Delete: Healthcare
13    18:24         Delete: Healthcare
      18:28         Delete: Healthcare
14
      19:1          Add: ESOP
15    19:5          Add:
16
                    68. According to the 2015 Form 5500 filed with the Department
17                  of Labor on June 15, 2017, KPC Healthcare adopted the ESOP
18                  effective April 1, 2015.

19                  69. On August 28, 2015, Alerus, acting as Trustee of the ESOP,
20                  caused the ESOP to purchase 100% of the shares of KPC
                    common stock.
21
22                  70.

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 3                  71.

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                    72.
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18                  73.
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26                  74.
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 1
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 5                  75.
                                                                              i
 6
 7
 8
 9                  76.
10
11
      19:10      Replace: “217,107,262” to “207,574,000”
12    19:11      Delete: Healthcare
13    19:12      Delete: Healthcare
      19:13      Add: for the KPC stock component of the 2015 ESOP
14
                 Transaction
15    19:13      Replace: “438” to “419”
      19:14      Replace: “price” to “equity value”
16
      19:15      Replace: “Company” to “company’s stock”
17    19:16      Add: for the KPC stock component of the 2015 ESOP
18               Transaction
      19:16      Replace: “891” to “774”
19    19:17      Replace: “1,484” to “2,133”
20    19:17      Add: equity
      19:18      Replace: “in early” to “between April 2012 and March”
21    19:19      Replace: “KPC Healthcare’s” with “KPC’s equity”
22    19:20      Replace” KPC Healthcare’s” with “KPC’s”
      19:21      Replace” KPC Healthcare’s” with “KPC’s”
23    19:26      Delete: Healthcare
24    19:27      Delete: Healthcare
      20:4       Add: reported equity
25
      20:5       Delete: Healthcare
26    20:5       Add: ESOP
27    20:17      Delete: Healthcare
      20:27      Add: purported
28    20:27      Delete: Healthcare
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                                          8
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 1    21:2          Add: purported
      21:2          Delete: Healthcare
 2    21:5          Add: purported
 3    21:5          Delete: Healthcare
      21:8          Add: purported
 4    21:8          Delete: Healthcare
 5    21:10         Add:
 6                  87. According to the 2018 Form 5500 filed with the Department
 7                  of Labor on July 9, 2020, the purported fair market value for the
                    KPC stock held by the ESOP was $123,500,000 as of August 31,
 8
                    2019.
 9    21:10         Delete: Healthcare
      21:11         Add: ESOP
10
      21:11         Delete: available
11    21:11         Add: available prior to filing this lawsuit and information
12                  obtained in discovery
      21:12         Add: ESOP
13    21:25         Add: ESOP
14    21:25-26      Replace: “as a result of their status as” with “the”
      22:3          Add:
15
16                  91.
17                                                                                14
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19
20
                    92.
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 1                  93.

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 3
 4
 5
 6                  94.
 7
 8
 9    22:3          Add: ESOP
      22:4          Delete: Healthcare
10    22:4          Add: ESOP
11    22:7          Add: ESOP
      22:8          Add: fiduciary
12
      22:11         Add: fiduciary
13    22:12         Add: ESOP
14    22:14         Add: Dr.
      22:14
15
16    22:16         Add: Dr.
      22:17         Delete: Healthcare
17    22:21         Delete: Healthcare
18    22:24         Delete: Healthcare
      23:16         Delete: Healthcare
19    23:19         Delete: Healthcare
20    24:26         Delete: Healthcare
      26:18         Delete: and
21
      26:18         Add: Dr.
22    26:18         Add: William Thomas, and SPCP Group
      27:4-5        Add: At least as a result of being a fiduciary of the ESOP, and as
23
                    a result of being an officer of and director of KPC,
24    27:4          Add: Dr.
25    27:6          Add:

26             117. At least as a result of being a fiduciary of the ESOP, and as a
27             result of being an officer of and director of KPC, Defendant Dr.
               Thomas qualified as a party in interest within the meaning of
28             ERISA § 3(14).
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                                         10
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 1    27:20         Delete: Healthcare
      27:20         Add: ESOP
 2    27:23         Delete: Healthcare
 3    27:24         Add: ESOP
      27:24         Change: add
 4    27:25         Delete: Healthcare
 5    27:25         Add: ESOP
      27:26         Add: ESOP
 6
      28:3          Add:
 7
                    122. As an officer and director of KPC, a fiduciary of the ESOP
 8
                    in the 2015 ESOP Transaction,
 9                                                           , Defendant William
                    Thomas was aware of facts sufficient to establish that the 2015
10
                    ESOP Transaction constituted a prohibited transaction with
11                  parties-in interest. As a party in interest, Defendant Kali Pradip
                    Chaudhuri is liable for the violations of ERISA § 406(a)(1)(A)
12
                    and (D), 29 U.S.C. § 1106(a)(1)(A) and (D).
13
14                  123. As an investor in Integrated Health/KPC

15                  Defendant SPCP Group was aware of facts sufficient to establish
16                  that the 2015 ESOP Transaction constituted a prohibited
                    transaction with parties-in interest. As a knowing participant in
17                  the 2015 ESOP Transaction, Defendant SPCP Group is subject to
18                  appropriate equitable relief for the violations of ERISA §
                    406(a)(1)(A) and (D), 29 U.S.C. § 1106(a)(1)(A) and (D).
19    28:5          Delete: a)-(
20    28:5          Add: Dr.
      28:5          Add: and William Thomas, and SPCP Group
21    28:15         Delete: Healthcare
22    28:17         Add: ESOP
                    Add:
23
24               127. As a member of the Board of Directors of KPC and in turn a
                 member of the ESOP Committee, Defendant Thomas was a
25               fiduciary of the ESOP at the time of the 2015 ESOP Transaction.
26    28:18      Delete: Healthcare
      28:19      Add: ESOP
27
      28:22      Delete: Healthcare
28    28:23      Delete: Healthcare
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                                         11
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 1    28:24         Change: “their” to “his”
      29:8          Delete: Healthcare
 2    29:9          Add: ESOP
 3    29:13         Add:
 4                  132.
 5
 6
 7
 8
 9
10                  133. As an officer and director of KPC, a fiduciary of the ESOP
11                  in the 2015 ESOP Transaction, as the purchaser of Integrated
                    Health, and as the selling shareholder of KPC in the 2015 ESOP
12                  Transaction, Defendant Dr. Kali Pradip Chaudhuri was aware of
13                  facts sufficient to establish that the 2015 ESOP Transaction
                    constituted a prohibited transaction with a Plan fiduciary, Mr.
14                  Thomas. As a party in interest, Defendant Kali Pradip Chaudhuri
15                  is liable for the violations of ERISA § 406(b), 29 U.S.C. §
                    1106(b), and/or is subject to appropriate equitable relief for the
16                  violations of ERISA § 406(b), 29 U.S.C. § 1106(b).
17
                    134. As an officer and director of KPC, a fiduciary of the ESOP
18
                    in the 2015 ESOP Transaction,
19                                                          Defendant William
                    Thomas was aware of facts sufficient to establish that the 2015
20
                    ESOP Transaction constituted a prohibited transaction with a Plan
21                  fiduciary, Dr. Chaudhuri. As a party in interest, Defendant
                    William Thomas is liable for the violations of ERISA § 406(b),
22
                    29 U.S.C. § 1106(b), and/or is subject to appropriate equitable
23                  relief for the violations of ERISA § 406(b), 29 U.S.C. § 1106(b).
24
                    135. As an investor in Integrated Health/KPC
25
                    Defendant SPCP Group was aware of facts sufficient to establish
26
                    that the 2015 ESOP Transaction constituted a prohibited
27                  transaction with a Plan fiduciary. As a knowing participant in the
                    2015 ESOP Transaction, Defendant SPCP Group is subject to
28
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 1                  appropriate equitable relief for the violations of ERISA § 406(b),
                    29 U.S.C. § 1106(b).
 2    29:15         Add: , and Knowing Participation in Such Breaches by
 3                  Defendants Kali Pradip Chaudhuri, William Thomas, and SPCP
                    Group
 4    30:9          Delete: Healthcare
 5    30:9          Add: ESOP
      30:13         Add: ESOP
 6    30:17         Add: ESOP
 7    30:18         Delete: Healthcare
      30:19         Add: ESOP
 8
      30:20         Add: ESOP
 9    30:22         Delete: Healthcare
10    30:22         Add: ESOP
      30:25         Add: ESOP
11    30:26         Add: ESOP
12    31:1          Add:

13                  144. As an officer and director of KPC, a fiduciary of the ESOP
14                  in the 2015 ESOP Transaction, and as the purchaser of Integrated
                    Health, the selling shareholder of KPC in the 2015 ESOP
15                  Transaction, Defendant Kali Pradip Chaudhuri was aware of
16                  sufficient facts that Alerus’ causing the ESOP to engage in the
                    2015 ESOP Transaction constituted a breach of fiduciary duty. As
17                  a party in interest who knowingly participated in the 2015 ESOP
18                  Transaction, Defendant Dr. Chaudhuri is liable for the violations
                    of ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1) and/or is subject to
19                  appropriate equitable relief for the violations of ERISA §
20                  404(a)(1), 29 U.S.C. § 1104(a)(1).
21                  145. As an officer and director of KPC, a fiduciary of the ESOP
22                  in the 2015 ESOP Transaction,
                                                             Defendant Thomas was
23                  aware of sufficient facts that Alerus’ causing the ESOP to engage
24                  in the 2015 ESOP Transaction constituted a breach of fiduciary
                    duty. As a party in interest who knowingly participated in the
25                  2015 ESOP Transaction, Defendant Thomas is liable for the
26                  violations of ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1) and/or is
                    is subject to appropriate equitable relief for the violations of
27                  ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1).
28
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 1                  146. As an investor in Integrated Health/KPC

 2               Defendant SPCP Group was aware of facts sufficient Alerus’
 3               causing the ESOP to engage in the 2015 ESOP Transaction
                 constituted a breach of fiduciary duty. As a knowing participant
 4               in the 2015 ESOP Transaction, Defendant SPCP Group is subject
 5               to appropriate equitable relief for the violations of ERISA §
                 404(a)(1), 29 U.S.C. § 1104(a)(1).
 6    34:10      Replace: “2018” with “2019”
 7    34:11      Add: The Form 5500 Annual Report for 2018 was not filed until
                 July 9, 2020 (i.e. after the original complaint in this lawsuit was
 8               filed).
 9    34:11-14   Delete: As of May 31, 2020, the Department of Labor had not
                 published the 2018 Form 5500 for the KPC ESOP. Upon
10               information and belief, the 2018 Form 5500 was either not filed
11               or was not filed timely.
      34:16      Delete: have
12
      35:13      Delete: Healthcare
13    36:1       Replace: “April 18” with “May 4”
      36:1       Replace: “Ms. Wilkerson” with “Theodore Becker”
14
      36:20      Delete: Healthcare
15    37:13      Delete: Healthcare
16    37:14      Delete: Healthcare
      37:20      Delete: Healthcare
17    37:22      Delete: Healthcare
18    37:23      Delete: Healthcare
      37:27      Delete: Healthcare
19    38:3       Add: ESOP
20    38:4       Add: ESOP
      38:4       Add: ESOP
21
      38:6       Add: ESOP
22    38:8       Delete: Healthcare
      38:9-12    Replace: “Despite knowing of the facts about these breaches by
23
                 Alerus, the Director Defendants took no steps to protect the ESOP
24               participants from these breaches, including but not limited to
                 stopping or delaying the 2015 Transaction, removing Alerus as
25
                 Trustee and/or remedying these breaches.” with Defendants Dr.
26               Chaudhuri, William Thomas, and Kali Priyo Chaudhuri knew that
                 Alerus had breached its fiduciary duties and engaged in
27
                 prohibited transactions because they were officers and directors
28               of KPC at the time of the 2015 ESOP Transaction and as to Dr.
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 1                  Chaudhuri and Defendant Thomas were parties to the 2015 ESOP
                    Transaction.
 2
 3    38:13         Add:
 4                  186. Defendants Hippert and van Arsdale knew or should have
 5                  known that Alerus had breached its fiduciary duties because once
                    they joined the Board of Directors (and thus the ESOP
 6                  committee) and had responsibility for reviewing the performance
 7                  of Alerus. Had Hippert and van Arsdale conducted an appropriate
                    review of the performance of Alerus after the Transaction,
 8                  including a review of the post-performance stock price, they
 9                  would have concluded that an investigation should have been
                    conducted about or a correction made concerning the 2015 ESOP
10                  Transaction.
11    38:15         Add: at the time of the violations
      38:17         Delete: Healthcare
12    38:18         Delete: Healthcare
13    38:20         Delete: Healthcare
      38:22         Add: ESOP
14
      38:26         Delete: Healthcare
15    39:3          Delete: Healthcare
16    40:15         Delete: Healthcare
      41:5          Delete: Healthcare
17    41:10         Add:
18
                                              COUNT VIII
19                    Co-Fiduciary Liability Pursuant to ERISA § 405, 29 U.S.C. §
20                                                1105
                    Against the Committee Defendants, Director Defendants, Kali
21                  Pradip Chaudhuri, Alerus, and William Thomas
22
                    200. Plaintiff incorporates the preceding paragraphs as though
23                  fully set forth herein.
24
                    201. ERISA § 405, 29 U.S.C. § 1105, makes a fiduciary of a Plan
25                  liable for another fiduciary of the same plan’s breach when (1)
26                  “he participates knowingly in, or knowingly undertakes to
                    conceal, an act or omission of such other fiduciary, knowing such
27                  act or omission of such other fiduciary is a breach;” (2) “by his
28                  failure to comply with section 404(a)(1) in the administration of
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 1                  his specific responsibilities which give rise to his status as a
                    fiduciary, he has enabled such other fiduciary to commit a
 2                  breach;” or (3) “he has knowledge of a breach by such other
 3                  fiduciary, unless he makes reasonable efforts under the
                    circumstances to remedy the breach.”
 4
 5                  202. The Committee Defendants violated ERISA § 405(a)(1)-(3)
                    when they knowingly participated in each other’s violations when
 6                  they acted as a Committee because (1) they each participated
 7                  knowingly in the actions taken as a Committee and knew or were
                    reckless in not knowing it was a breach, (2) failed to fulfill their
 8                  duties as members of the Committee set forth in the Plan
 9                  Document and (3) had knowledge of those breaches and made no
                    apparent efforts to remedy the breach. As such, each of the
10                  Committee Defendants is liable for the breaches of the other
11                  members of the committee pursuant to ERISA § 405(a)(1)-(3).
12                  203. The Director Defendants violated ERISA § 405(a)(1) and (3)
13                  when they knowingly participated in each other’s violations when
                    they acted as a board because they each participated knowingly in
14                  the actions taken as a board, knew or were reckless in not
15                  knowing it was a breach, and had knowledge of those breaches
                    and made no apparent efforts to remedy the breach. As such, each
16                  of the Director Defendants is liable for the breaches of the other
17                  members of the committee pursuant to ERISA § 405(a)(1), (3).
18                  204. Defendants Kali Pradip Chaudhuri, Alerus, and William
19                  Thomas violated ERISA § 405(a)(1) and (3) when they
                    knowingly participated in each other’s respective prohibited
20                  transactions because they each participated knowingly in the
21                  respective prohibited transactions, had knowledge of those
                    breaches, and made no apparent efforts to remedy the breaches.
22                  As such, each of them is liable for the breaches of the others as to
23                  each of those transactions pursuant to ERISA § 405(a)(1) and (3).
      42:3          Add: the
24
      42:3          Add: ESOP
25    42:12         Add: or by virtue of liability pursuant to ERISA § 405
      43:2          Delete: Healthcare
26
      43:4          Delete: Healthcare
27    43:5          Delete: Healthcare
28    43:7          Delete: Healthcare
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 1    43:13          Add: ESOP
      44:18          Add:
 2
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                     Darin Ranahan (SBN 273532)
 4                   Nina Wasow (SBN 242047)
 5                   FEINBERG, JACKSON, WORTHMAN
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11      III.   LEGAL STANDARD
12         Under Federal Rule of Civil Procedure 15(a), “a party may amend its
13 pleading ... with ... the court’s leave.” Fed. R. Civ. P. 15(a)(2). “The court should
14 freely give leave to amend when justice so requires.” Id.; see Navajo Nation v.
15 Dep’t of the Interior, 876 F.3d 1144, 1173 (9th Cir. 2017). The factors considered
16 in determining whether amendment should be allowed are: “(1) undue delay; (2)
17 evidence of the movant’s bad faith or dilatory motive; (3) repeated failures to cure
18 deficiencies by previous amendments; (4) undue prejudice to the opposing party;
19 and, (5) futility of amendment.” AIG Property Casualty Co. v. Cosby, 2016 WL
20 6662730, at *2 (C.D. Cal. Jan. 8, 2016) (citing Foman v. Davis, 371 U.S. 178, 182
21 (1962)). Of these Foman factors, “[t]he Court weighs prejudice to the opposing
22 party most heavily.” Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d 1048, 1052
23 (9th Cir. 2003). “Absent prejudice, or a strong showing of any of the remaining
24 Foman factors, there exists a presumption under Rule 15(a) in favor of granting
25 leave to amend.” Id. (emphasis in original). Rule 15’s policy of favoring
26 amendments to pleadings should “be applied with ‘extreme liberality.’” Eminence
27 Capital, 316 F.3d at 1051.
28
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 1      IV.   ARGUMENT
 2         All of the Foman factors weigh in favor of granting Plaintiff’s motion.
 3                A.     Defendants Will Not Be Prejudiced By Amendment.
 4         First, and most significantly, Defendants will not be prejudiced by this
 5 amendment because the new allegations do not significantly alter the nature of the
 6 case.
 7         Courts find no substantial prejudice where “Plaintiff's new claims would not
 8 alter the nature of the litigation or require Defendants to “radically change their
 9 litigation strategy in order to accommodate the proposed [amendments].” Garden
10 v. Cty. of Los Angeles, 2020 WL 5210954, at *3 (C.D. Cal. May 27, 2020) (citing
11 Serpa v. SBC Telecomm., Inc., 318 F. Supp. 2d 865, 872 (N.D. Cal. 2004)). Cf.
12 M/V Am. Queen v. San Diego Marine Const. Corp., 708 F.2d 1483, 1492 (9th Cir.
13 1983) (denying leave to amend where the “new allegations would totally alter the
14 basis of the action”). “The party opposing amendment bears the burden of showing
15 prejudice.” Burrito Labs, Inc. v. Sickday, LLC, 2016 WL 11499659, at *3 (C.D.
16 Cal. Apr. 29, 2016) (quoting DCD Programs Ltd. v. Leighton, 833 F.2d 183, 187
17 (9th Cir. 1987) (citation omitted)).
18         Defendants will not be prejudiced by the new allegations in the FAC
19 because they arise out of the same theory in the original Complaint: that the
20 Defendants breached their fiduciary duties and engaged in prohibited transactions
21 by participating in and/or approving the 2015 ESOP Transaction. Adding SPCP as
22 a defendant and adding knowing participation and co-fiduciary liability claims do
23 not fundamentally change this case, nor do they require Defendants to make any
24 wholesale changes to their litigation strategy. See Navarro v. Eskanos & Adler,
25 2006 WL 3533039, at *2 (N.D. Cal. Dec. 7, 2006) (rejecting contention that
26 defendants prejudiced by amendment where the “basic fact pattern will remain the
27 same. All that is being added is another legal string to the same old bow.”).
28 Further, the fact that the case is in its infancy, with the bulk of fact discovery still
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 1 to be completed, weighs against a finding that Defendants would be prejudiced by
 2 an amended complaint. See DCD Programs, Ltd. v. Leighton, 833 F.2d 183, 187-
 3 88 (9th Cir. 1987) (with no trial date or pretrial conference upcoming, no prejudice
 4 would result from adding a new defendant at the discovery stage). Indeed,
 5 Defendants have not even completed production of documents responsive to
 6 Plaintiff’s current outstanding document requests. Wasow Decl. ¶ 6. To date, the
 7 KPC Defendants have only produced 3,284 pages of documents and Alerus has
 8 only produced 40,753 pages of documents. Id. ¶¶ 4-5.
 9         Thus, the lack of prejudice favors allowing amendment.
10               B.     Plaintiff Has Been Diligent in Seeking to Amend.
11         In evaluating undue delay, courts in this Circuit “inquire ‘whether the
12 moving party knew or should have known the facts and theories raised by the
13 amendment in the original pleading.”’ AmerisourceBergen Corp. v. Dialysist West,
14 Inc., 465 F.3d 946, 953 (9th Cir. 2006)). Plaintiff did not know – and could not
15 have known – the facts giving rise to the proposed FAC when the Complaint was
16 filed, because the new facts were recently ascertained in discovery. Only limited
17 information was available to Plaintiff and her counsel when she filed the
18 complaint. Plaintiff seeks to amend the Complaint less than three months after
19 receiving the documents that underlie the bulk of the proposed changes. See
20 Wasow Decl. ¶¶ 4-5.
21         Moreover, given that discovery is still underway, and the Court has not yet
22 set a deadline for the close of either fact or expert discovery, ECF No. 98, there is
23 no basis to find that Plaintiff unduly delayed in pursuing leave to amend. See
24 Gould v. Motel 6, Inc., 2011 WL 759472, at *5 (C.D. Cal. Feb. 22, 2011); Dauth v.
25 Convenience Retailers, LLC, 2013 WL 4225587, at *3 (N.D. Cal. July 31, 2013)
26 (“courts have found that undue delay cannot exist where discovery has not
27 ended”); Am. Express Travel Related Serv. Co., Inc. v. D & A Corp., 2007 WL
28 2462080, at *8 (E.D. Cal. Aug. 28, 2007) (same).
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 1               C.     Plaintiff is Acting in Good Faith.
 2         Plaintiff seeks leave to file the FAC primarily in order to conform the
 3 operative Complaint to the facts learned during discovery to date, by correcting
 4 allegations that contained factual errors and adding claims against parties for which
 5 either the party or the claims were unknown at the time of the filing of the original
 6 complaint. There is no evidence that Plaintiff has an improper purpose or intends
 7 to delay the litigation. Compare Sorosky v. Burroughs Corp., 826 F.2d 794, 805
 8 (9th Cir. 1987) (finding bad faith when the amendment was solely to add a
 9 defendant to defeat diversity); Morris v. Fresno Police Dep't, 2010 WL 4977626,
10 at *3 (E.D. Cal. Dec. 2, 2010) (finding an inference of bad faith where plaintiff
11 was seeking leave to file an eighth amended complaint and violated court orders in
12 its amendments); Trans Video Elec., Ltd. v. Sony Elec., Inc., 278 F.R.D. 505, 510
13 (N.D. Cal. 2011), aff'd sub nom. Trans Video Elec., Ltd. v. Sony Elec., Inc., 475 F.
14 App'x 334 (Fed. Cir. 2012) (finding that a motion to amend was taken in bad faith
15 where, after the court granted a defendant's motion for summary judgment,
16 plaintiff moved to amend “as a last-ditch attempt to avoid the case being dismissed
17 in its entirety.”). Thus, this factor weighs in favor of granting leave to amend.
18               D.     Plaintiff Does Not Seek to Amend the Complaint Because of
19                      Any Deficiency, and Amendment is Not Futile.
20         Plaintiff has not repeatedly failed to cure deficiencies by previous
21 amendments: indeed, the original complaint survived Defendants’ motions to
22 dismiss before Plaintiff proposed to file this first amendment to the Complaint. See
23 ECF No. 76.
24         Finally, amendment is not futile. “An amendment is futile when no set of
25 facts can be proved under the amendment to the pleadings that would constitute a
26 valid and sufficient claim.” Missouri ex rel. Koster v. Harris, 847 F.3d 646, 656
27 (9th Cir. 2017). Far from trying to resuscitate claims that have been held to lack
28 merit, the FAC only adds one entirely new claim which is derivative of the claims
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 1 which the Court has already found valid and sufficient (as well as adding
 2 defendants to claims which the Court sustained): the new Count VIII seeks to hold
 3 co-fiduciaries liable for the ERISA violations previously held to be cognizable.
 4 ECF No. 76 at 4-9. “Denial of leave to amend for futility is rare . . . as courts will
 5 typically ‘defer consideration of challenges to the merits of a proposed amended
 6 pleading until after leave to amend is granted and the amended pleading is filed.’”
 7 Kinney v. Three Arch Bay Cmty. Servs. Dist., 2018 WL 6016935, at *2 (C.D. Cal.
 8 June 12, 2018) (quoting Netbula, LLC v. Distinct Corp., 212 F.R.D. 534, 539 (N.D.
 9 Cal. 2003)). This is not the rare case where denial of leave to amend for futility
10 would be appropriate.
11       V.   CONCLUSION
12         For the foregoing reasons, the Court should allow Plaintiff to file the
13 proposed amended Complaint.
14
15 Dated: July 7, 2021                      Respectfully submitted,
16
                                                   /s/ Nina Wasow
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